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                                                         Exhibit A to the Complaint
Location: Philadelphia, PA                                                                         IP Address: 108.4.232.217
Total Works Infringed: 31                                                                          ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                            02-07-     Blacked       02-05-2022    02-14-2022   PA0002335503
           AE90C86D911A70368335FF0532A2BF66B9E7FC46                              2022
           File Hash:                                                            14:45:06
           03B4DBB838FBDADC0EDCC7B7834A86C080469CCDF9136BD723E32D716EF91FBE
 2         Info Hash:                                                            02-01-     Blacked       01-29-2022    02-14-2022   PA0002335485
           27AE1E1034EA8BB067DFE05D0C8A6F35A4A4C51D                              2022
           File Hash:                                                            14:10:28
           CDD56A4C5055860375D8539B9F2524A4013525256F75F6D3168EE368B7F65D3F
 3         Info Hash:                                                            01-07-     Blacked       01-03-2022    01-17-2022   PA0002330091
           A2B5718BB1CAA00D0D665075430789678C3137E5                              2022       Raw
           File Hash:                                                            15:13:32
           C4491F8620011D39D4264B032B31E1E5B138812B6DFB79F78022EDB6FBDB50F9
 4         Info Hash:                                                            12-31-     Blacked       12-27-2021    01-17-2022   PA0002330095
           4942B26E65DF128854B844B35AB6AF20B3B289F2                              2021       Raw
           File Hash:                                                            04:22:52
           CB10299C3EEC78FA0D9219A52B89DC3EEC9548B9EEF182D9A55A81F195FB17B4
 5         Info Hash:                                                            12-31-     Blacked       12-25-2021    01-17-2022   PA0002330103
           5DAC4AD0ACDE6DE76F2ECB3D6B40F615984D1643                              2021
           File Hash:                                                            04:22:36
           3C36AED1205981717F56BEDC1871A31D650DCB9E3DD3824CDE9852D18350235D
 6         Info Hash:                                                            12-15-     Blacked       12-13-2021    01-17-2022   PA0002330111
           C42EE371002AEEA77C5452EDB31E0132A3D47B6E                              2021       Raw
           File Hash:                                                            21:26:45
           8F86F2EA5E22176E3351BBF65BE24B9C737E9DF52772F1B0CFF2916A66F40C20
 7         Info Hash:                                                            11-22-     Blacked       11-20-2021    12-09-2021   PA0002325817
           0E4CACEDCCDF0CEAF44A2BE0EC857587D35EA57A                              2021
           File Hash:                                                            15:27:32
           CE825ED8394023946EA5073AD8CD9A7095F4B9B6F597C02D4CB498375948662B
 8         Info Hash:                                                            11-08-     Blacked       11-06-2021    11-11-2021   PA0002321284
           2369DA2EA39DD17E91F2F55D81946629A7872B9E                              2021
           File Hash:                                                            14:08:55
           DC064752573A2022E4D177464D8CF99257640F88BD2CF8277CA68C4479A71323
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         10-06-     Blacked   09-29-2021   11-11-2021   PA0002321302
       B3CF1BC90895F4A5C53C9B30A7EB76F20B525656                           2021
       File Hash:                                                         13:49:38
       A92FCFF6E4F800D2DC258FF1F12F6581EDDC834A3A47873F8CAC6636C8636108
10     Info Hash:                                                         09-12-     Blacked   09-04-2021   09-21-2021   PA0002312679
       B3E42C84C48B8BEBEAC209531FF7F9AD54593F7F                           2021
       File Hash:                                                         13:06:17
       673065A1DFFD464A5047C0181D534DC453ECF0026CC047D8DF60DD5354DF7DED
11     Info Hash:                                                         09-02-     Blacked   08-30-2021   09-30-2021   PA0002319882
       41A572496B878FFAE77C7A757CBAE1ED0EB9D57E                           2021       Raw
       File Hash:                                                         15:07:59
       FF125D9A09EA9469F302C188E821F889073D4286F770D8D1FA88C6E3E13AC817
12     Info Hash:                                                         09-01-     Tushy     08-29-2021   09-21-2021   PA0002312672
       0DED1D076E0C283D05660F54E5970AACF14DE8D4                           2021
       File Hash:                                                         16:23:41
       41DCC423B7AB8D656E993CC97FCC84C6F2630BFB0642391C3A6C7DE276572C59
13     Info Hash:                                                         08-30-     Blacked   08-28-2021   09-21-2021   PA0002312681
       5AFF7F3C10A79971D10A2371A3C3EF018D85AD32                           2021
       File Hash:                                                         13:02:30
       B0D3D477521205AB33A065EB02D8B0187567DAE49288D13A675B672057253017
14     Info Hash:                                                         08-26-     Blacked   03-21-2018   04-12-2018   PA0002091520
       2F73A144B780B7D386C021B9DFCA2C674931DEE8                           2021
       File Hash:                                                         13:24:09
       F85AE75227D8B66E7A0DEAC0477536890D8F9ECE99E4FA681CC88AAEC3688FDF
15     Info Hash:                                                         08-26-     Blacked   09-27-2018   11-01-2018   PA0002143428
       0616906E5B0D445A8FB469D45908C91D24F6CD2F                           2021
       File Hash:                                                         13:16:28
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53
16     Info Hash:                                                         08-26-     Tushy     02-25-2018   03-01-2018   PA0002079188
       47CE723D84C0A2028A53B98FE9431C963A280E54                           2021
       File Hash:                                                         13:15:56
       3B4131F8980F5B1897C386893963773E40C3EEECE0EF9820C958D8248BE7E58C
17     Info Hash:                                                         08-04-     Tushy     08-01-2021   09-30-2021   PA0002320423
       980E29E94CEBAFEE2E480DF633DF6187E8CC965D                           2021
       File Hash:                                                         12:50:59
       1A0F9D7BE2306841713F712039A84E4EC7164CAF368F5352E5F088BEB55B5CA9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         06-09-     Blacked   05-22-2021   06-09-2021   PA0002295591
       6244BB226988F9FFD9377945E88F639E528D2E3E                           2021
       File Hash:                                                         11:27:24
       07C597A0C069380A0078C561C9179C3776683B0B6D0325828DADC318951051EB
19     Info Hash:                                                         05-05-     Blacked   04-19-2021   04-27-2021   PA0002288984
       09EE300AFC18446C7E051E6A71568289D703C79D                           2021       Raw
       File Hash:                                                         15:32:38
       86E5CDB949365CFDAE4FB08ADAEC4C409B815601EACD1737765E421F7BEA91D0
20     Info Hash:                                                         04-30-     Tushy     04-11-2021   04-27-2021   PA0002288948
       79F50E3960CFE36B1F1E044B222200097AA1DFEF                           2021
       File Hash:                                                         14:21:04
       65513133DE6896A6FF1FF80BF1E9FF0B73CC9F7CEDE904744AC67802B05CF59C
21     Info Hash:                                                         04-01-     Blacked   03-15-2021   03-22-2021   PA0002282515
       00F802AEDCAB7B711BD707018C03096C4F9F0931                           2021       Raw
       File Hash:                                                         11:55:46
       F1F4EF24BACAC466BCA4347EA401F9C5DAAEC24A45381502BA2CBC9D5F6343DD
22     Info Hash:                                                         03-22-     Tushy     03-07-2021   03-22-2021   PA0002282503
       2AFE60797AFFA07DE53D09E7BAD81B4DAF2BFA3A                           2021
       File Hash:                                                         13:26:28
       9DB638ADC847C64E25BF71B883127DADB529BD61665CB0A92708D742D999FB4B
23     Info Hash:                                                         03-16-     Blacked   03-13-2021   03-22-2021   PA0002282509
       2731D3BE6ECD9F4EF189644B16EBA424B73EFBFD                           2021
       File Hash:                                                         13:13:26
       96FC13D83810C44230AFE045BFAD3603B19F1A98E46ADFE605A0E3798A867F2D
24     Info Hash:                                                         02-12-     Blacked   02-08-2021   03-08-2021   PA0002280363
       E16BF2312FEAFFDA0DFD45F8DEC8F8D38281D1D4                           2021       Raw
       File Hash:                                                         16:38:22
       A0077A2CCDB176BC6A42D6A5511A8948BCA5D56EE3E1A5D3707EF868FEAAC87B
25     Info Hash:                                                         02-05-     Blacked   01-04-2021   02-02-2021   PA0002280514
       D90661C4EAF703AD571420CB0E7B68DA96A83C8F                           2021       Raw
       File Hash:                                                         16:02:39
       EC6D90A123469F683033BF6383B5F9752EA070551E408220A225B6352EE6E9B6
26     Info Hash:                                                         01-26-     Blacked   01-23-2021   02-09-2021   PA0002276146
       724B637D9AD85A90C48E95BF3200FE11B4520420                           2021
       File Hash:                                                         21:14:15
       ABD1CF9BE94C07E7BA99AD39BA2A1F827B3E71F1677F7CFC5C5731EEFFC66D57
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         12-01-     Tushy     11-22-2020   11-30-2020   PA0002266355
       1A8DCF0C152304F2BB246BDB17F0F9BF1AF0A33F                           2020
       File Hash:                                                         14:23:26
       87E07A405D15190CACF4C8AFA342BFB1677B86EBD7E48AF6A36013DE4CB7A190
28     Info Hash:                                                         12-01-     Blacked   11-28-2020   12-28-2020   PA0002269083
       47EFF10A48B116CE25A44DCBB64795ADB5789D0D                           2020
       File Hash:                                                         14:17:51
       E9A2BD560E5A809DABA69192DD5DFA4E31D5620BC4BCFEFBD51A4A967CC8AA72
29     Info Hash:                                                         11-02-     Blacked   10-31-2020   11-24-2020   PA0002265967
       FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                           2020
       File Hash:                                                         13:50:02
       EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661
30     Info Hash:                                                         10-26-     Blacked   10-24-2020   11-05-2020   PA0002263386
       3818467D5DC9DDB317735107C4146CBB3C456751                           2020
       File Hash:                                                         13:13:17
       76CC20D3E9FC939ED897DF2598478477E80E3E647195FEC6250C8664D38F8A3E
31     Info Hash:                                                         10-06-     Blacked   10-05-2020   10-22-2020   PA0002261806
       9352D370D33CC9FA273FC8B6E660F317B53AB89A                           2020       Raw
       File Hash:                                                         15:53:51
       444AA5F2B3ECAFCD7594C9F15005CAF6298621D86EE925C3421E1B54DD68A919
